        Case 3:16-cv-05694-RBL Document 92 Filed 03/06/20 Page 1 of 1




     UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
                                  AT TACOMA



                                                       JUDGMENT IN A
      JOSEPH A. KENNEDY,
                                                       CIVIL CASE
                            Plaintiff,
                                                       CASE NUMBER: C16-5694RBL
             v.

      BREMERTON SCHOOL DISTRICT,

                            Defendant.




      Jury Verdict. This action came before the Court for a trial by jury. The issues have been
      tried and the jury has rendered its verdict.

XX    Decision by Court. This action came to consideration before the Court. The issues have
      been considered and a decision has been rendered.

      THE COURT HAS ORDERED THAT Plaintiff Kennedy’s Motion for Summary

Judgment [63] is DENIED, and Defendant Bremerton School District’s Motion for Summary

Judgment [70] is GRANTED.

DATED: March 6, 2020.
                                             William M. McCool
                                             Clerk


                                             Deputy Clerk
